    Case 5:21-pf-00003-GTS Document 1 Filed 10/27/21 Page 1 of 4




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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IN RE: RIKISHA S. SMITH,                                      5:21-PF-0003 (GTS)

                     Respondent.
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GLENN T. SUDDABY, Chief United States District Judge

                                   ORDER TO SHOW CAUSE

       Recently United States District Mae A. D’Agostino found that grounds may exist

to enjoin Rikisha S. Smith (“Respondent”) from filing any future pleadings or

documents of any kind (including motions) in this District pro se without prior

permission of the Chief Judge or his or her designee. Smith v. Jackson, 5:21-CV-

0005-MAD-ML, Order, at 2-5 (N.D.N.Y. filed 07/02/21) (D’Agostino, J.), adopting,

Report-Recommendation, at 10-13 (N.D.N.Y. filed 01/11/21) (Lovric, M.J.).

       It is well settled that “[a] district court may, in its discretion, impose sanctions

against litigants who abuse the judicial process.” Shafii v. British Airways, PLC, 83

F.3d 566, 571 (2d Cir. 1996). W here a litigant persists in the filing of vexatious and

frivolous suits, it may be appropriate to place certain limitations on the litigant’s future

access to the courts. See Hong Mai Sa v. Doe, 406 F.3d 155, 158 (2d Cir. 2005)

(citing Iwachiw v. New York State Dep’t of Motor Vehicles, 396 F.3d 525, 528 [2d Cir.

2005]); see also Shafii, 83 F.3d at 571 (“The filing of repetitive and frivolous suits

constitutes the type of abuse for which an injunction forbidding further litigation may be

an appropriate sanction.”). Before imposing such limitations, the court should consider

the following:

                 (1) the litigant’s history of litigation and in particular whether it
    Case 5:21-pf-00003-GTS Document 1 Filed 10/27/21 Page 2 of 4




              entailed vexatious, harassing or duplicative lawsuits; (2) the
              litigant’s motive in pursuing the litigation, e.g., does the litigant
              have an objective good faith expectation of prevailing?; (3)
              whether the litigant is represented by counsel; (4) whether the
              litigant has caused needless expense to other parties or has
              posed an unnecessary burden on the courts and their personnel;
              and (5) whether other sanctions would be adequate to protect the
              courts and other parties.

Iwachiw, 396 F.3d at 528 (quoting Safir v. United States Lines, Inc., 792 F.2d 19, 24

[2d Cir. 1986]).

       Here, after carefully reviewing the record, the Court concludes that, unless she

shows cause otherwise, Respondent should be enjoined from filing any future

pleadings or documents of any kind (including motions) in this District pro se without

prior permission of the Chief Judge or his or her designee. In addition to the analysis

performed by United States Magistrate Judge Lovric, the Court relies on the below

analysis.

       A review of Respondent’s litigation history on Federal Judiciary's Public Access

to Court Electronic Records ("PACER") Service reveals that, between October 24,

2018, and January 5, 2021, Respondent filed four pro se civil rights actions in this

District. See Smith v. Bush, 5:18-CV-1252, Complaint (N.D.N.Y. filed 10/24/18); Smith

v. Smith, 5:20-CV-0748, Complaint (N.D.N.Y. filed 07/06/20); Smith v. Clinton, 5:20-

CV-1225, Complaint (N.D.N.Y. filed 03/11/21); Smith v. Jackson, 5:21-CV-0005,

Complaint (N.D.N.Y. filed 07/02/21). Each of those four actions have been dismissed

for failure to state a claim and/or frivolousness. See Smith v. Bush, 5:18-CV-1252,

Decision and Order (N.D.N.Y. filed 12/03/18); Smith v. Smith, 5:20-CV-0748, Decision

and Order (N.D.N.Y. filed 06/15/21); Smith v. Clinton, 5:20-CV-1225, Decision and


                                             2
    Case 5:21-pf-00003-GTS Document 1 Filed 10/27/21 Page 3 of 4




Order (N.D.N.Y. filed 01/14/21); Smith v. Jackson, 5:21-CV-0005, Decision and Order

(N.D.N.Y. filed 07/02/21). In addition, Respondent’s appeal f rom the dismissal of the

first action was dismissed by the Second Circuit as frivolous. Smith v. Bush, No. 18-

3631, Mandate (2d Cir. issued 06/12/19).

       In light of the foregoing analysis, the Court has trouble finding that

Respondent’s litigation history has been anything other than vexatious, in bad faith and

unnecessarily burdensome to the Court and its personnel. Nor can the Court conceiv e

of any other sanctions (such as a warning or monetary sanction) that would be

adequate to protect the Court and other parties. However, notwithstanding the support

for an anti-filing injunction at this time, fairness dictates that Respondent be given

notice and an opportunity to be heard. See Iwachiw, 396 F.3d at 529. As a result, she

shall have fourteen (14) days from the date of this Order to show cause, in writing, why

she should not be enjoined from filing any future pleadings or documents of any kind

(including motions) in this District pro se without prior permission of the Chief Judge or

his or her designee.

       ACCORDINGLY, it is

       ORDERED that Respondent shall, within FOURTEEN (14) DAYS of the date of

this Order, show cause, in writing, why she should not be enjoined from filing any

future pleadings or documents of any kind (including motions) in the Northern District

of New York pro se without prior permission of the Chief Judge or his or her designee

(except pleadings or documents in a case that is open at the time of the issuance of




                                             3
     Case 5:21-pf-00003-GTS Document 1 Filed 10/27/21 Page 4 of 4




the Court’s Pre-Filing Order, until that case is closed); 1 and it is further

         ORDERED that, if Respondent does not fully comply with this Order, the Court

will issue a subsequent order, without further explanation, permanently so enjoining

Respondent; and it is further

         ORDERED that the Clerk shall provide a copy of this Order to Respondent by

certified mail.

Dated:            October 27, 2021
                  Syracuse, New York




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                 This injunction would apply to, among other things, continued filings by
Respondent as a pro se plaintiff in any action filed by her in state court and either removed to
this Court or transferred to this Court. See Sassower v. Starr, 338 B.R. 212, 218-19 & n.1
(S.D.N.Y. Bankr. 2006) (recognizing validity of pre-filing injunction expressly applying to
actions removed from state courts to the Southern District of New York); Jenkins v. Kerry, 928
F. Supp.2d 122, 126 (D. D.C. 2013) (noting that Southern District of Florida would apply its
pre-filing injunction to case that was transferred there from the District for the District of
Columbia); Petrols v. Boos, 10-CV-0777, 2012 WL 1193982, at *1, n.3 (N.D. W. Va. Apr. 10,
2012) (“This pre-filing injunction does not preclude the plaintiff from filing an action in state
court, but it does apply to cases filed in state court that are removed to this Court.”) (relying on
Petrols v. Boos, 10-CV-0777, Memorandum Opinion and Order, at 9, n.5 [N.D. W. Va. filed
Nov. 2, 2010] [Stamp, J.] [reserving “the right to apply this injunction to any suit removed from
state court to this Court”]); Kissi v. Pramco, II, LLC, 09-CV-0267, 2009 WL 8636986, at *1 (D.
Md. Feb. 12, 2009) (applying District of Maryland’s pre-filing injunction to case that had been
transferred from the District of Delaware); Hensley v. U.S. Dist. Ct. E. Dist. of Cal., 07-CV-
1546, 2008 WL 480000, at *3 (E.D. Cal. Feb. 19, 2008) (noting that Central District of
California applied its pre-filing injunction to case that had been transferred from the Eastern
District of California).

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